 Case 2:93-cv-00902-RBS Document 455 Filed 07/19/18 Page 1 of 5 PageID# 753




                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                    Norfolk Division

R.M.S. TITANIC, INC.,
successor in interest to Titanic
Ventures, limited partnership,

               Plaintiff,

v.                                                  Civil Action No. 2:93cv902

The Wrecked and Abandoned
Vessel, . . .believed to be
the RMS TITANIC, in rem,

               Defendant.

REPLY OF PLAINTIFF TO UNITED STATES’ RESPONSE TO RMST’S JUNE 29, 2018
          MOTION TO APPROVE ASSET PURCHASE AGREEMENT

       NOW COMES Plaintiff RMS Titanic, Inc., (“Plaintiff” or “RMST”), by counsel, and for

its Reply to United States’ Response to RMST’s June 29, 2018 Motion to Approve Asset

Purchase Agreement (the “APA”) states as follows:

       I. Procedural Background.

       On June 29, 2018, RMST filed in this Court its Motion to Approve Asset Purchase

Agreement and Authorize the Sale of 100% of RMST’s Stock to Premier Acquisition Holdings

LLC or Other Qualified Purchaser as Approved by the Bankruptcy Court. On July 13, 2018 the

United States filed its Response to RMST’s June 29, 2018 Motion to Approve Asset Purchase

Agreement (the “Response Brief”).

       II. Discussion.

       By its plain language, the Covenants and Conditions only “apply to the present and future

disposition, care, conservation, and management of the Subject TITANIC Artifact Collection.”
 Case 2:93-cv-00902-RBS Document 455 Filed 07/19/18 Page 2 of 5 PageID# 754



Section I.D. The Subject TITANIC Artifact Collection (the “STAC”) includes objects recovered

from the wreck site by RMST between 1993 and 2004 and, “that are within the jurisdiction of

this Court.” § II.G. The STAC does not include the French TITANIC Artifact Collection (the

“French Artifacts”).

       The Covenants and Conditions seek to place the STAC in a trust for the benefit of the

public interest. The Court’s in specie award of the STAC, “shall be a trust for the benefit of and

subject to the beneficial interest of the public . . . in the wreck and its artifacts, and the Covenants

and Conditions herein expressed.” § I.E. See also, VII.A (“Trustees title to and possession and

use of the STAC . . . is subject to a trust” and “these Covenants and Conditions will continue to

apply to the STAC for the benefit of the public interest”). The Covenants and Conditions do not

seek to place the French Artifacts in a trust. The Covenants and Conditions seek to ensure only

that the artifacts, “within the scope of its terms, are for the benefit of the public interest [and]

kept together and intact.” § I.G. (Emphasis added).

       By these very specific terms, the Covenants and Conditions only apply to the

management of the STAC. This plain language is consistent with the jurisdictional ruling in RMS

Titanic, Inc. v. Wrecked and Abandoned Vessel, ____ (4th Cir. 2006). Consistent with this ruling,

the Covenants and Conditions themselves, and the intent of RMST when it drafted the Covenants

and Conditions, the limited language in the Covenants and Conditions which relates the

“TITANIC Collections” (ie. both the STAC and the 1987 Artifacts”) is merely precatory, and

aspirational.

       In its Response Brief, NOAA indicates that it will seek “assurances” from any entity

seeking to acquire the stock of RMST that such entity will continue to comply with the

Covenants and Conditions, and will require “full access” to the French Artifacts. Similarly,
 Case 2:93-cv-00902-RBS Document 455 Filed 07/19/18 Page 3 of 5 PageID# 755



NOAA, “expects to take into account the proposal’s treatment, handling and disposition” of the

French Artifacts which NOAA claims is permitted by § II.K and which states in pertinent part

that NOAA, “represents the public interest” in both the STAC and the French Artifacts.

Consistent with § I.E. however, the public interest only extends to the STAC and not to the

French Artifacts. Moreover, while § VII.C.1 seeks to permit NOAA to inspect both the STAC

and the French Artifacts, such inspection is designed only to monitor, “the conservation,

curation, documentation, and other activities in relation to the STAC.” (Emphasis added).

Because RMST owns the French Artifacts outright, and because this Court does not have subject

matter jurisdiction over them, NOAA’s oversight role under the Covenants and Conditions does

not extend to the care and treatment of the French Artifacts.

       In this regard, NOAA’s position that it will “take into account” the treatment and

handling of the French Artifacts in any transactional proposal, is overreaching, outside its scope,

and ultra vires. Nevertheless, RMST will continue to work collaboratively with NOAA to

guarantee an easy transition in the event of a transaction which includes a sale of RMST’s stock,

or which delivers the STAC to a subsequent Trustee and Qualified Institution. As soon as

reasonably practicable after direction from the Bankruptcy Court, RMST will provide this Court

and NOAA with the relevant information necessary to consider any proposed transaction.

III.   CONCLUSION

       For the foregoing reasons, RMST respectfully requests that the Court (a) schedule a

hearing for a date after the sale hearing in the Bankruptcy Court and before September 7, 2018,

to consider approval of the APA and authorize the sale of 100% of RMST’s stock to the Stalking

Horse Purchaser, or such other prevailing qualified bidder as determined by the Bankruptcy

Court at the sale hearing; (b) grant its Motion to Approve the Asset Purchase Agreement; (c)
 Case 2:93-cv-00902-RBS Document 455 Filed 07/19/18 Page 4 of 5 PageID# 756



authorize the sale of 100% of RMST’s stock to the Stalking Horse Purchaser; and (d) grant any

other related relief.

Dated: July 19, 2018                       Respectfully submitted,

                                           R.M.S. TITANIC, INC.

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 Case 2:93-cv-00902-RBS Document 455 Filed 07/19/18 Page 5 of 5 PageID# 757



                                CERTIFICATE OF SERVICE

       I hereby certify that on the 19th day of July, 2018, a true copy of the foregoing was filed
with the Court using the CM/ECF system, which will send notification of such filing to the
following:

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